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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                     PIKEVILLE

UNITED STATES,                             )
                                           )
        Plaintiff,                         )      Criminal No. 12-09-2-ART
                                           )
v.                                         )
                                           )     MEMORANDUM OPINION
LINDA ROOS,                                )           AND ORDER
                                           )
         Defendant.                        )
                                           )
                                     *** *** *** ***
         Dr. Linda Roos has moved to suppress the evidence seized during a search of her

 office. R. 124. She argues that the search warrant was invalid because: (1) it authorized a

 search of the files of all her Kentucky patients without probable cause to believe that those

 files contained evidence of a crime, and (2) it lacked particularity. Her first argument fails

 because even if the warrant lacked probable cause—which is debatable—the good-faith

 exception for searches conducted pursuant to warrants applies. Her second argument fails

 because the warrant was specific enough to provide officers with guidance about which

 records to seize.

                                      BACKGROUND

         This Court referred Dr. Roos’s motion to suppress to Magistrate Judge Hanly Ingram

 for a report and recommendation. R. 57-1 at 9. Judge Ingram recommended that this Court

 deny the motion. R. 153. Dr. Roos objected to that recommendation, R. 160, so this Court

 reviews the recommendation de novo. See Fed. R. Crim. P. 59(b)(3); United States v. Curtis,

 237 F.3d 598, 603 (6th Cir. 2001) (citation omitted).
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       Because Judge Ingram’s report and recommendation concisely lays out the relevant

facts, only a brief summary is necessary here. See R. 153 at 1–6. The Kentucky State Police

(“KSP”) came to believe that Dennis and Helen Varney were unlawfully distributing

prescription painkillers. R. 124-1 at 7 ¶¶ 9 10. KSP searched the Varney residence pursuant

to a state search warrant. At the house they found oxycodone prescribed by Dr. Roos and

reminders for appointments with Dr. Roos, a doctor in Houston, Texas. Id. at 7–10. Based

on information gained from the searches, Officer Virgil Ray, an FBI Task Force Officer,

believed the Varneys were involved in a conspiracy to distribute controlled substances. Id.

       Officer Ray decided to investigate Dr. Roos’s role in that conspiracy. He interviewed

three individuals who took trips to Houston to get oxycodone prescriptions from Dr. Roos:

Joseph Casey, Eddie West, and Dennis Varney. Id. at 11–12, 14. All three stated that they

would travel to Houston, see Dr. Roos, be examined quickly, and then receive prescriptions

for large amounts of oxycodone and other painkillers. Id. at 11–17. They also said that Dr.

Roos required in-person examinations every other month. In the other months she would call

in the Texas prescriptions to a Kentucky pharmacy. Id.

       Based on this information, Officer Ray applied for a warrant to search Dr. Roos’s

office for “patient files for patients who have indicated they are from Kentucky” and other

records relating to Kentucky patients. Id. at 22. Officer Ray executed the search warrant in

early 2012, and later that year Dr. Roos was charged with conspiring to distribute controlled

substances and launder money. R. 1; R. 16.




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                                          DISCUSSION

I.     Even If the Warrant Lacked Probable Cause, Suppression Is Not Warranted
       Because the Good Faith Exception Applies.
       Roos argues that there was not probable cause to search for all of her Kentucky

patient files. In her view, the search warrant application did not show that she prescribed

medically unnecessary prescriptions to any Kentucky patients other than the six people

named in the application. See R. 124 at 6 (stating that “the evidence was related to” the

named patients so “no nexus was established to all Kentucky patient files”); R. 160 at 3

(same).

       Probable cause requires “‘a fair probability that contraband or evidence of a crime

will be found in a particular place.’” United States v. Berry, 565 F.3d 332, 338 (6th Cir.

2009) (quoting Illinois v. Gates, 462 U.S. 213, 238 (1983)). A reviewing court gives the

issuing magistrate’s probable cause determination “great deference” and reverses that

determination only if it was arbitrary. United States v. Leake, 998 F.2d 1359, 1363 (6th Cir.

1993) (quotation omitted). If a common-sense review of the search warrant application

shows that the issuing magistrate had a substantial basis to find probable cause, the Court

will uphold the warrant. See United States v. Smith, 510 F.3d 641, 652 (6th Cir. 2007).

       Whether the issuing magistrate reasonably determined that there was probable cause

to search all of Dr. Roos’s Kentucky patient files is a close question. The affidavit attached

to the warrant application identified six patients of Dr. Roos who lived in Kentucky and

received medically unnecessary prescriptions: Dennis Varney, Helen Varney, Joseph Casey,

Eddie West, Michelle West, and Scott Hawkins. See 124-1 at 11, 12, 14, 17. But the

warrant authorized a search for the files of all of Dr. Roos’s patients who lived in Kentucky,



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not just those six patients. So the question is whether the issuing magistrate had a substantial

basis to conclude that Dr. Roos had other patients—beyond the six named in the affidavit—

who lived in Kentucky and received medically unnecessary prescriptions. He might have.

The affidavit indicates that Casey and the Varneys heard about Dr. Roos from Eddie West,

who in turn heard about Dr. Roos from Hawkins. See id. The affidavit does not state how

Hawkins found out about Dr. Roos.         The issuing magistrate could have reasoned that

Hawkins heard about Dr. Roos the same way that the others did: from another one of Dr.

Roos’s Kentucky patients. Once the issuing magistrate concluded that Dr. Roos likely had

another Kentucky patient, he clearly could have concluded that the patient probably received

medically unnecessary prescriptions.       The affidavit explained that, in Officer Ray’s

experience, Dr. Roos’s practices were characteristic of a “pill mill.” Id. at 11–17. A “pill

mill” is a clinic where the doctor issues medically unnecessary prescriptions and is willfully

blind to the potential for drug abuse or trafficking. Id. at 18–20. A clinic with patients who

travel long distances to obtain prescriptions is usually a pill mill because those patients

generally cannot recoup their travel costs without selling some of the prescribed drugs. See

id. In light of the “great deference” this Court affords the issuing magistrate’s probable

cause determination, a finding of probable cause based on these facts is not “arbitrary.”

United States v. Williams, 544 F.3d 683, 685 (6th Cir. 2008).          But even if were, the

suppression would not be warranted because the good-faith exception for searches conducted

pursuant to warrants applies.

       The good-faith exception allows the admission of evidence that was “seized in

reasonable, good-faith reliance on a search warrant that is subsequently held to be defective.”

United States v. Leon, 468 U.S. 897, 905 (1984) (quotation omitted). The rationale behind


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the good-faith exception is simple.       The purpose of suppression is to protect Fourth

Amendment rights by deterring Fourth Amendment violations. See id. at 906. An officer

who conducts a search in reasonable reliance on a warrant that is later found to be invalid has

done nothing wrong. See id. at 919. Thus, the deterrent effect of suppression is unnecessary.

See id. at 918–21.

       Roos invokes one of the exceptions to the good-faith exception, but that exception

does not apply to this case. Suppression remains available as a remedy if a warrant was “so

facially deficient” that no reasonable officer could have thought that it was valid. Leon, 468

U.S. at 923 (describing the fourth exception to the good-faith exception). Roos argues that

this warrant was facially deficient because it gave officers a blank check to “rummage”

through her office in order to find records of Kentucky patients. See R. 149 at 4–6; R. 160 at

4. Replace the word “rummage” with its synonym “search” and the flaw in Roos’s argument

becomes clear. A search warrant by definition authorizes a search, not a tactical extraction

carried out with military precision. A warrant is not facially invalid because an officer might

encounter some items not covered by the warrant in the process of looking for items listed in

the warrant. See Andresen v. Maryland, 427 U.S. 463, 482 n.11 (1976) (“In searches for

papers, it is certain that some innocuous documents will be examined, at least cursorily, in

order to determine whether they are, in fact, among those papers authorized to be seized.”).

Nor is a warrant facially invalid if it affords the officer executing the warrant some discretion

to decide how to carry out the search. See United States v. Richards, 659 F.3d 527, 538 (6th

Cir. 2011) (“[I]t is folly for a search warrant to attempt to structure the mechanics of the

search . . . .” (quotation omitted)). Roos simply offers no reason why this run-of-the-mill

warrant contains “a glaring deficiency that any reasonable police officer would have known


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was constitutionally fatal.” Groh v. Ramirez, 540 U.S. 551, 564 (2004). Because the

warrant was not facially deficient, the good-faith exception applies, and suppression is not

warranted.

       Roos also suggests that the warrant lacked probable cause because the search warrant

application did not establish that her whole medical practice was fraudulent. See R. 124 at 6;

R. 160 at 3. She is wrong. In making this argument, Roos relies on a series of cases dealing

with completely fraudulent businesses, but those cases do not apply to the search warrant at

issue here. See, e.g., R. 124 at 4 (citing United States v. SDI Future Health, Inc., 568 F.3d

684, 705 (9th Cir. 2009) (applying “the ‘permeated with fraud’ exception to the specificity

requirements of the warrant”)). Several courts have upheld warrants authorizing a search for

all of a suspect’s files where there was probable cause to believe the suspect’s business is

“permeated with fraud.” United States v. Ford, 184 F.3d 566, 576 (6th Cir. 1999) (quotation

omitted) (citing cases from five circuit courts). Those cases dealt with extremely broad

search warrants that authorized the search and seizure of, in effect, all of a business’s

records. See, e.g., Ford, 184 F.3d at 576 (quoting a warrant). When a search warrant

authorizes a search for all of a business’s records, the requirement of probable cause to

believe that the whole business is fraudulent makes sense. That requirement eliminates the

risk that records “not shown to be related to the suspected crime” will be searched for and

seized. Ford, 184 F.3d at 576. In Roos’s case, the search warrant was cabined to a specific

set of files—those of patients from Kentucky—that were related to a specific suspected

crime—the distribution of controlled substances. Because the search warrant had a narrow

scope, the concern that the “permeated with fraud” line of cases were designed to eliminate is

not present, and those cases do not apply.


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II.    The Search Warrant Complied With the Particularity Requirement of the
       Fourth Amendment.
       Roos’s final objection is that the warrant lacked particularity. Search warrants must

“particularly describ[e] the place to be searched, and the . . . things to be seized.” U.S.

CONST. amend. IV. The particularity requirement ensures that the warrant contains “enough

information to guide and control the agent’s judgment in selecting what to take.” Richards,

659 F.3d at 537. The requirement also prevents warrants that are “too broad in the sense that

[they include] items that should not be seized.” Id. (quotation omitted).

       Although Dr. Roos argues otherwise, this warrant provided officers with enough

guidance about how to conduct the search of her office and the seizure of listed files. As

Judge Ingram explained, the warrant provided officers with clear guidance about which

records to seize. R. 153 at 7, 9. All an officer had to do was open a patient file and scan it to

determine whether the patient was from Kentucky. If the patient was from Kentucky, the

officer could seize the file. If the patient was not from Kentucky, the officer could not seize

the file. Dr. Roos argues that to provide the proper amount of guidance, the search warrant

should have been limited to only those files of the patients named in Officer Ray’s affidavit.

R. 160 at 2. But an officer looking for those specific files would go through the same

process as an officer looking for Kentucky patient files. He would open the file, look at the

patient’s name, seize the file if the patient’s name matches a patient listed in the warrant, and

leave the file if the patient’s name does not. The amount of guidance is exactly the same,

only the object of the search is different. As it turns out, the object of the search is Dr.

Roos’s real issue. See R. 160 at 2 (mischaracterizing Officer Ray’s investigation as one into

only the named patients and describing the Kentucky patient records as outside the scope of



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that investigation); R. 124 at 5–6 (same). Dr. Roos’s particularity argument is really a

continuation of her probable cause argument masked as a particularity challenge. Because

her probable cause argument failed, this particularity argument fails as well.

       Finally, Roos argues that the warrant violated the particularity requirement because it

authorized a search for all of her Kentucky patient files, rather than files from within a

certain date range. The “[f]ailure to limit broad descriptive terms by relevant dates, when

such dates are available to the police, will render a warrant overbroad.” Ford, 184 F.3d at

576. But, as Judge Ingram explained, the lack of a date range in the warrant did not violate

the particularity requirement because Officer Ray could not have specified one. See United

States v. Abboud, 438 F.3d 554, 576 (6th Cir. 2006) (holding that the failure to include a date

range did violate the particularity requirement when “law enforcement knew that the

evidence in support of probable cause in the affidavit revolved only around a three-month

period”); United States v. Sissler, 966 F.2d 1455, *7 (6th Cir. 1992) (unpublished table

decision) (“The absence of a time limitation does not make a warrant overbroad if the

magistrate is unable to specify an appropriate time frame.”). Officer Ray learned about Dr.

Roos from Eddie West sometime between August and November 2011. The affidavit does

not identify the dates on which Officer Ray interviewed West; however, the dates of the

surrounding steps of the investigation indicate that the West interview occurred during that

time frame. See R. 124-1 at 11, 15. The interview revealed that West found out about Dr.

Roos from his friend Scott Hawkins in 2004. R. 124-1 at 12. Hawkins passed away in 2009,

so Officer Ray could not have interviewed him and asked when he began seeing Dr. Roos.

Id. Officer Ray knew that Dr. Roos had seen Kentucky patients since at least 2004, but he




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had no way of pinning down the date she started seeing Kentucky patients. Thus, the lack of

a date range in the warrant did not violate the particularity requirement.

                                           CONCLUSION

       Accordingly, the Court OVERRULES the defendant’s objections, R. 160, and

ADOPTS and ACCEPTS Magistrate Judge Hanly Ingram’s recommendation, R. 153,

denying Dr. Roos’s motion to suppress, R. 124.

       This the 18th day of March, 2013.




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